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     Attorney for Defendant
 5   BRANDON ROBERTS

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 7                                     UNITED STATES DISTRICT COURT

 8                                     EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                             No. 2:12-CR-00049-TLN

11                        Plaintiff,                       STIPULATION AND ORDER TO
                                                           CONTINUE STATUS CONFERENCE,
12           v.                                            AND TO EXCLUDE TIME PURSUANT TO
                                                           THE SPEEDY TRIAL ACT
13   BRANDON ROBERTS,

14                        Defendant.

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16           IT IS HEREBY STIPULATED by and between the parties hereto through their respective

17   counsel, Todd Pickles, Assistant United States Attorney, attorney for plaintiff, and Michael E.

18   Hansen, attorney for defendant Brandon Roberts, that the previously-scheduled status conference

19   date of December 19, 2013, be vacated and the matter set for status conference on January 9,

20   2014, at 9:30 a.m.

21           This continuance is requested to allow counsel additional time to negotiate a plea

22   agreement.

23           The Government concurs with this request.

24           Further, the parties agree and stipulate the ends of justice served by the granting of such a

25   continuance outweigh the best interests of the public and the defendant in a speedy trial and that

26   time within which the trial of this case must be commenced under the Speedy Trial Act should

27   therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to Local Code

28   T-4 (to allow defense counsel time to prepare), from the date of the parties’ stipulation,
                                                           1
     Stipulation and Order to Continue Status Conference
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 1   December 12, 2013, to and including January 9, 2014.

 2           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.

 3           IT IS SO STIPULATED.

 4   Dated: December 12, 2013                                  Respectfully submitted,
 5                                                             /s/ Michael E. Hansen
                                                               MICHAEL E. HANSEN
 6                                                             Attorney for Defendant
                                                               BRANDON ROBERTS
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     Dated: December 12, 2013                                  BENJAMIN B. WAGNER
 8                                                             United States Attorney
 9                                                             By: /s/ Michael E. Hansen for
                                                               TODD PICKLES
10                                                             Assistant U.S. Attorney
                                                               Attorney for Plaintiff
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12

13                                                  ORDER

14           The Court, having received, read, and considered the stipulation of the parties, and good

15   cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based

16   on the stipulation of the parties and the recitation of facts contained therein, the Court finds that it

17   is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within the

18   time limits established in 18 U.S.C. section 3161. In addition, the Court specifically finds that the

19   failure to grant a continuance in this case would deny defense counsel to this stipulation

20   reasonable time necessary for effective preparation, taking into account the exercise of due

21   diligence. The Court finds that the ends of justice to be served by granting the requested

22   continuance outweigh the best interests of the public and the defendant in a speedy trial.

23           The Court orders that the time from the date of the parties’ stipulation, December 12,

24   2013, to and including January 9, 2014, shall be excluded from computation of time within which

25   the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.

26   section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare). It

27   is further ordered that the December 19, 2013, status conference shall be continued until

28   January 9, 2014, at 9:30 a.m.
                                                           2
     Stipulation and Order to Continue Status Conference
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 1           IT IS SO ORDERED.

 2   Dated: December 16, 2013
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 6                                             Troy L. Nunley
                                               United States District Judge
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     Stipulation and Order to Continue Status Conference
